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    EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
WILLIAM LITTLE AND CATHI LITTLE,                      )
                                                      )
                      Plaintiffs,                     )
                                                      )
        v.                                            )
                                                        Case Number 14-CV-2163 (JEB)
                                                      )
COMMERCIAL AUDIO ASSOCIATES, INC.,                    )
d/b/a INTEGRATED MEDIA SYSTEMS,                       )
                                                      )
                      Defendant.                      )
                                                      )

        STATEMENT OF GENUINE ISSUES NECESSARY TO BE LITIGATED

       Pursuant to Local Civil Rule 7(h), Plaintiffs Dr. J. William Little and Cathi Little (“the

Littles”), by and through counsel, hereby set forth the following genuine issues necessary to be

litigated regarding the facts alleged in Defendant Commercial Audio Associates, Inc.’s (“CAA”)

Statement of Undisputed Material Facts, see Dkt. #6-1, at 2–3.

       RESPONSES TO NUMBERED PARAGRAPHS OF CAA’S STATEMENT

       1.       On March 23, 2005, the Littles retained Commercial Audio to design and

install equipment relating to a home electronics system (the “March 25, 2005 [sic]

Contract”). (See, Declaration of Tom Wells, Exhibit A, ¶ 5.)

       RESPONSE: Undisputed.

       2.       The original amount of the March 23, 2005 Contract was $119,105.44. (See,

Declaration of Tom Wells, ¶ 6.)

       RESPONSE: Undisputed.
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       3.       The scope of the March 23, 2005 Contract was changed over time through

various change orders, many of which constituted new contracts. (See, Declaration of Tom

Wells, ¶ 7.)

       RESPONSE: Disputed in part. It is undisputed that the scope of the March 23, 2005

Contract was changed over time through various change orders. It is disputed that “many” of the

change orders referred to in Paragraph 3 “constituted new contracts.” See Jan. 13, 2015 Decl. of

J. William Little in Supp. of Pls.’ Opp’n to Def.’s Mot. for Partial Summ. J. (“Little Decl.”)

¶¶ 7–8; Little Decl. Exs. 1–3.

       4.       Equipment requested by the Littles was ordered by Commercial Audio and

work began by Commercial Audio shortly after execution by the parties. (See, Declaration

of Tom Wells, ¶ 8.)

       RESPONSE: Disputed in part. It is undisputed that some equipment requested by the

Littles was ordered by CAA and CAA began some work in the months following execution of

contracts by the parties. This Paragraph is disputed to the extent that it may be read to imply that

“all” equipment requested by the Littles was ordered by Commercial Audio in the months

following execution of contracts by the parties. See Little Decl. ¶ 9.

       5.       By March, 2009, a significant amount of equipment had been ordered,

received and installed into the Littles’ residence. (See, Declaration of Tom Wells, ¶ 9.)

       RESPONSE: Undisputed.

       6.       During that time, a dispute arose between Commercial Audio and the Littles

as to payment of monies claimed to be owing. (See, Declaration of Tom Wells, ¶ 10.)

       RESPONSE: Undisputed.




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       7.       Within the three (3) years concluding November 19, 2014—the date the

present action was filed—Commercial Audio accepted only two (2) payments from the

Littles. (See, Declaration of Tom Wells, ¶ 13.)

       RESPONSE: Disputed in part. It is undisputed that within the three years concluding

November 19, 2014 CAA accepted a payment from the Littles of $11,930.20, as identified in

Paragraph 8. It is disputed that the $2,806.00 amount identified in Paragraph 8 was only one

payment because that amount was two payments “in regard to two invoices in the amounts of

$660.00 and $2,146.00, respectively,” as stated in Paragraph 8. See Little Decl. ¶ 10.

       8.       The Complaint alleges that the Littles made a payment of $11,930.20 and a

payment of $660.00. (See, Complaint, ¶¶ 20, 22.) More correctly, the $660.00 payment

was, in fact, a $2,806.00 Payment—such payment being in regard to two invoices in the

amounts of $660.00 and $2,146.00, respectively. (See, Declaration of Tom Wells, ¶ 14.)

       RESPONSE: Disputed in part. See Pls.’ Response to Paragraph 7; Little Decl. ¶ 10.

       9.       The payments of $11,930.20 and $2,806.00 were the only payments accepted

by Commercial Audio within the three (3) years concluding November 19, 2014. (See,

Declaration of Tom Wells, ¶ 15.)

       RESPONSE: Disputed in part. See Pls.’ Response to Paragraph 7; Little Decl. ¶ 10.

$11,930.20 and $2,806.00 were the only amounts accepted by CAA from the Littles within the

three years concluding November 19, 2014, but the Littles do not know whether CAA accepted

payments made by entities or persons other than the Littles during that time period. See Little

Decl. ¶ 11.




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                                          Respectfully submitted,

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Dated: January 13, 2015




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